94 F.3d 641
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Larry CROSLAND, Petitioner-Appellant,v.William R. DAVIS, Warden;  Charlie Condon, Attorney Generalof the State of South Carolina, Respondents-Appellees.
    No. 96-6052.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 25, 1996.Decided Aug. 14, 1996.
    
      Larry Crosland, Appellant Pro Se.
      Donald John Zelenka, Chief Deputy Attorney General, Columbia, South Carolina, for Appellees.
      Before LUTTIG and MOTZ, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
    
    PER CURIAM
    
      1
      Appellant seeks to appeal the district court's order denying relief on his petition for habeas corpus relief, 28 U.S.C. § 2254 (1988), as amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1217.  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.  Accordingly, we deny a certificate of probable cause to appeal;  to the extent that a certificate of appealability is required, we deny such a certificate.  We dismiss the appeal on the reasoning of the district court.   Crosland v. Davis, No. CA-95-886-17BD (D.S.C. Dec. 12, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    